Case 3:24-cv-00270-BAJ-RLB Document1-6 04/04/24 Page 1 of 17

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December 11, 2023

Via E-mail: jones(alsu.edu

Carlton (Trey) Jones

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RE: Dr. Brian Salvatore
Our file no. 23-32

Dear Dr. Smith:

Pursuant to LSUS Policy Statement 2.19.02, Dr. Salvatore submits the following
response to the charges alleged in LSUS’s November 8, 2023 correspondence as follows:

I. DR. SALVATORE’S SPEECH IS PROTECTED BY THE FIRST
AMENDMENT TO THE UNITED STATES CONSTITUTION

On behalf of Dr. Salvatore, we submit that all of the speech which you allege as the basis of
Dr. Salvatore’s proposed termination is protected by the First Amendment. The following Court
decision demonstrate that essential point:

PICKERING V. BOARD OF EDUCATION, 391 U.S. 563 (1968)

The Board alleges that numerous statements in the Plaintiff's letter to the local paper were false
and that these statements unjustifiably impugned the motives, honesty, integrity, truthfulness,
responsibility and competence of both the Board and the school administration. Jd. at 566, 567.

The Court agreed that certain statements in the Plaintiff's letter were false. Jd. at 570.
“Tt is apparent that the threat of dismissal from public employment is nonetheless a potent means

of inhibiting speech.” Jd. at 574.

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EXHIBIT

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“In sum, we held that, in a case such as this, absent proof of false statements knowingly or
recklessly made by him, a teacher’s exercise of his right to speak on issues of public importance
may not furnish the basis for his dismissal from public employment.” Jd. at 574.

In COLOSON V. GROHMAN. 174 F.3d 498 (5" Cir 1999),

The Fifth Circuit held that “criticism of public officials lies at the very core of speech protected by
the First Amendment.” Jd. at 507. “Even charges of criminal conduct against an official or
candidate are constitutionally protected.” Jd. at 507.

In New York Times Co. v. Sullivan, supra, the Court stated: “That this country enjoys a profound
national commitment to the principle that debate on public issues should be uninhibited, robust,
and wide-open, and that it may well include vehement, caustic, and sometimes unpleasantly sharp
attacks on government and public officials.”

UNITED STATES, V_ ALVAREZ, 567 U.S. 709 (2012)

“As a general matter, the First Amendment means that the government has no power to restrict
expression because of its message, its ideas, its subject matter, or its content. As a result, the
Constitution demands that content-based restrictions on speech be presumed invalid and that the
Government bears the burden of showing their constitutionality.” /d. at 716-717.

“,. . content-based restrictions on speech have been permitted, as a general matter, only when
confirmed to the few historic and traditional categories of expression long familiar to the bar.”
Among these categories are advocacy intended and likely to incite imminent lawless action,
obscenity, defamation, speech integral to criminal conduct, so-caused “fighting words”, child
pornography, fraud, true threats, and speech presenting some grave and imminent threat the
Government has the power to present. /d. at 717-718.

There is no exception to the First Amendment for false statements. Id. at 718, 719. “This comports
with the common understanding that some false statements are inevitable if there is to be an open
and vigorous expression of views or public and private conversation, expression the First
Amendment seeks to guarantee.” Jd at 718

For a defamatory statement to be outside of the First Amendment, the statement must be a knowing
or reckless falsehood. fd. at 719.

Suppression of speech by the Government can make expression of falsity more difficult, not less
so society has the right and a civil duty to engage in open, dynamic, and rational discourse. These
ends are not well served when the Government seeks to orchestrate public discussion through
content-based mandates. /d. at 728.
SERFIRNE V. BRANARM, 810 F.3d 354 95" Cir. 2016)

“Indeed, the Court has long held that ‘erroneous statement is inevitable in free debate, and. . .it
must be protected if freedoms of expression are to have the ‘breathing space’ that may need.” Jd.
at 362.

NEW YORK TIMES V_ SULLIVAN, N.Y. Times Co. v. Sullivan, 376 U.S. 254, 84 S.Ct. 710, 11
L.Ed.2d 686 (1964)

The Court held that an advertisement in the Times which was allegedly defamatory qualified for
constitutional protection. The Court held that the question before the Court was whether the
advertisement forfeited First Amendment protection by the falsity of some of its factual statements
and by its alleged defamation of the Plaintiff. Id. at 271.

The United States Supreme Court held that a defamatory falsehood only loses First Amendment
protection if the statement is made “with actual malice — that is, with knowledge that it was false
or with reckless disregard of whether it was false or not.” Jd. at 279-280.

This privilege fully applies to the “citizen-critic of government.” Jd. at 282.

In KENNEDY V. SHERIFF OF EAST BATON ROUGE, 05-C-1418. (La. 7/10/06), 935 So.2d 669,

The Louisiana Supreme Court observed that the New York Times v. Sullivan decision imposed a
requirement of a heightened burden of proof and a “high degree of fault” on the part of the speaker.
Id. at 675.

The Louisiana Supreme Court also observed that the New York Times v. Sullivan decision also
applied to critics of. . .official conduct.” Jd. at 677.

The Louisiana Supreme Court also held that the need for a constitutional privilege to protect
“aininhibited, robust and wide-open debate obtains in either case.” Jd. at 678.

GARCETTI V_ CEBALLOS., 547 U.S, 410 (2006)

“It is now well settled that ‘a state cannot condition public employment on a basis that infringes
the employee’s constitutional protected interest in freedom of expression.” Jd, at 413.

However, the Court held that the First Amendment does not protect a government employee from
discharge based on speech made pursuant to the employee’s official duties.”

In LANE V. FRANKS, 573 U.S. 228 (2018),

The United States Supreme Court held that “the question under Garcetti is whether the speech at
issue is itself ordinarily within the scope of an employee’s duty, not whether it merely concerns
these duties.” Jd. at 240.
“Pickering provides the framework for analyzing whether the employee’s interest or the
government's interest should prevail in cases were the government seeks to curtail the speech of
its employees.” Jd. at 236.

“Tt bears emphasis that our precedents dating back to Pickering have recognized that speech by
public employees or subject matter related to their employment holds special value precisely
because those employees gain knowledge of matters of public concern through their employment.”
Id. at 240.

ANDERSON V. HALDEY, 845 F.3d 560 (5" Cir. 296)

“A public employee does not speak pursuant to his official duties merely because he speaks within
at work. Likewise, a public employee does not speak pursuant to his official duties merely because
he speaks about work.” fd. at 593.

“. . Garcetti and our Court’s pre-Lane jurisprudence established that when employees speak
outside of their chain of command and outside of their job duties they are entitled to First
Amendment protection.” Jd. at 602.

WALKER V. SMITH, 801 Fed. Appx. 265 (5" Cir. 2020),

“If. . .a public employee takes his job concerns to persons outside the workplace in addition to
raising them up the chain of command at his workplace, then these external communications are
ordinarily not made as am employee, but as a citizen.”

Il. DR. SALVATORE’S RESPONSES TO THE INDIVIDUAL ALLEGATIONS

Regarding each specific allegation, Dr. Salvatore responds to each, individually, as
follows:

1. In Spring 2021, Dr. Salvatore alleged improprieties by LSUS concerning removal of
chemical waste from the Science Building. This was investigated by the LSU Office of
Internal Audit. The allegations were found to be unsubstantiated with no further
investigation warranted.

As Department Chair at the time, Dr. Salvatore had helped collate the chemicals that the
faculty had designated for removal from the Department of Chemistry and Physics, and he
consulted with other faculty about what the Biology Department had designated for removal. The
reason that he asked the LSU auditor to investigate this matter was that he had conversations
with several other faculty members, and they believed that Chancellor Clark was reporting
exaggerated numbers when he spoke about the amount of chemicals that had been removed from
the Science Building over the two preceding years. Several faculty and staff had expressed
concerns to Dr. Salvatore that the weights of the chemicals were being inaccurately reported by
the Facilities Director (Art Shilling) and Chancellor Clark. The concerned individuals that spoke
to him about this included Kathi Garcie, the department’s administrative assistant, and Chris
Stratton, a former staff member who had assisted with the Facilities Director with the chemical

waste removal. They expressed the belief that the amounts being reported (in pounds) were
erroneous and exaggerated.

Dr. Salvatore later obtained the electronic manifests from the EPA that itemized all the
chemicals that had been removed from LSUS during all of 2020-2021. The discrepancy in
pounds was greater than 50%. Also, the Department estimated that about 70% of the weight on
the EPA spreadsheet was from packaging, and not chemicals. Later, he obtained the spreadsheets
from the EPA that showed everything that had been removed (along with the weights), but he did
not have those at the time of the investigation. Dr. Salvatore needed to obtain the EPA
spreadsheet from a third party, because the University did not provide that to him. Before he had
this information, the auditor asked Dr. Salvatore to provide him with proof of the alleged
discrepancy, and Dr. Salvatore told him that he was not involved in weighing the chemicals. Dr.
Salvatore asked the auditor to please just verify what had been reported by the Chancellor with
what the University’s own manifests showed. The auditor never provided Dr. Salvatore with a
copy of his investigative report, even though he was the individual who had requested the
investigation in the first place. Dr. Salvatore does not believe that an adequate investigation was
conducted, and based on the information that was available to him at the time, he believed that
this was not proper.

2. Also in Spring 2021, Dr. Salvatore alleged that he had several photographs of a deceased
former employee that he claimed were stolen from his Apple iCloud account. He accused
the LSUS administration as being behind the theft. At the time, then-Chancellor Larry
Clark directed LSUS Police Chief Donald Wray to conduct a criminal investigation. The
criminal investigation (which included a forensic analysis of Dr. Salvatore's cell phone)
found this allegation to be unsubstantiated. The case was closed with no further
investigation warranted.

The deceased former employee was Dr. Michael Doran, the Chair of LSUS’s Computer
Science Department, whom Dr. Salvatore discovered deceased in his home. Dr. Salvatore knew
that Dr. Doran had been placed under inordinate stress during the year that he worked for the
University. Dr. Doran had informed him that that two of his colleagues were being insubordinate
to him, and they were not helping at all in their department’s ABET accreditation process. Dr.
Doran informed him that he reported the matter to the administration on a nearly daily basis, but
nothing was ever done to help him. Dr. Peter Siska, the Dean of Arts and Sciences at the time,
did try to help him, even calling an emergency meeting with all the department chairs to try to
get Human Resources and the administration to do something about this crisis. However, no one
in the administration ever did anything to help Dr. Doran, to Dr. Salvatore’s knowledge.

The last time that Dr. Salvatore saw Dr. Doran alive, he looked like a ball of nerves, and Dr.
Salvatore believed that he was under tremendous stress. His wife, who was away from home at
the time, had asked Dr. Salvatore to check on him roughly one week after the last time he saw
Dr. Doran. Tragically, Dr. Salvatore found him dead in his bedroom on that Sunday, apparently
from a massive heart attack. Dr. Salvatore believes that the photographs he took that day were
deleted from his personal Apple iCloud. He suspects that this was done by an LSUS IT staff
member who gained access to his university-owned laptop, using the administrator access
account. Dr. Salvatore believes that a staff member then used that access to enter his personal
iCloud account and delete the photos. Dr. Salvatore is not aware that anyone, other than the
University Administration, had access to his personal iCloud account.

Chief Wray, with the Bossier Police Department, informed Dr. Salvatore at the time that he
was conducting this investigation for him, personally. He encouraged him to provide the Chief
with his iPhone. Chief Wray then took his phone to the Bossier Police Department, and they kept
it for three (3) days. Shortly after it was returned to Dr. Salvatore, Chief Wray said that there was
no evidence that any photos from his iPhone had been “emailed around the campus by the
administration.” Dr. Salvatore responded he had never asked if photos had been emailed around.
Rather, he wanted to know if they had been deleted from his personal Apple iCloud account.
Chief Wray replied “Oh, if you want to know that, then we would need to destroy your phone.
Dr. Salvatore agreed and told the Chief to g0 ahead and destroy his phone because he wanted to
know the truth.

Roughly two weeks after he described this incident (and repeated Chief Wray’s words) to
university investigators who were questioning me about another matter, it was announced that
Chief Wray was leaving LSUS.

3. Also in Spring 2021, Dr. Salvatore filed a grievance in which he accused then-Chancellor
Clark of making inappropriate sexual advances toward Dr. Elahe Mahdavian (Dr.
Salvatere's wife). This allegation was investigated by several different bodies: the LSUS
Title EX Office, a faculty committee and Mr. Carranza Pryor, Chief Counsel for LSU
Health Shreveport. No evidence was found to substantiate the allegation. However, Dr.
Salvatore has continued to publicly make the allegation.!

Based on information provided to Dr. Salvatore by his wife, Dr. Salvatore believes that
Chancellor Clark had behaved very unprofessionally towards his wife, Dr. Elahe Mahdavian,
who is also a professor at LSUS. She has told Dr. Salvatore about his behavior on numerous
occasions. At first, he was dismissive of her concerns, but then, as he personally observed
Chancellor Clark’s behavior, Dr. Salvatore began to believe that he had, in fact, been trying to
make advances toward her.

For example, Dr. Salvatore caught Chancellor Clark following his wife alone at night in the
University Center parking lot as she left an event called “India Night.” The Chancellor and
Graduate Dean Sanjay Menon had provided the couple with free tickets to attend India Night and
to sit at the Chanceilor’s table that evening. However, Chancellor Clark didn’t sit there much at
all. Instead, he stood about 30 feet away much of the night, and Dr. Salvatore’s wife later said
that he kept leering at her and blushing.

When they were getting ready to leave that event, Dr. Salvatore left first to check on a
chemical reaction in a research lab in the Science Bldg. He told him that they would meet at their
car in ten (10) minutes so that they could go home together. When he arrived at the car, he found
the Chancellor alone with his wife beside the car. Dr. Salvatore said “Oh, hi” as he came up
behind him. The Chancellor looked startled, and he did not say a word. He just turned around
and walked hurriedly back to the event. Dr. Salvatore’s wife said that he had followed her out of

the event alone. They both thought it was strange, but they did not give it much further thought
until he continued to pursue her.

Dr. Salvatore’s wife submitted an EEOC claim regarding Chancellor Larry Clark in 2021. He
fully believes that Elahe is a truthful and honest person, and he has no reason to believe
otherwise.

Dr. Salvatore did file a grievance against the Provost in March 2021. Chancellor Clark
would have been the ultimate decision-maker in the grievance process, and because of the
personal circumstances with Dr. Salvatore’s wife, it made sense to Dr. Salvatore that the
Chancellor would recuse himself. Dr. Salvatore mentioned this fact in his grievance. After a
news article came out about the grievance, it is noteworthy that the Provost chose to send Dr.
Elahe Mahdavian’s EEOC investigation file out to the entire university.

4. In March 2022, Dr. Salvatore alleged that a workplace injury to his administrative
assistant was caused by William Wolfe, Associate Vice Chancellor HR, Purchasing, and
Risk Management. The allegation stated that Mr. Wolfe had imposed a very short deadline
to submit a property inventory and that Mr. Wolfe had put pressure on his assistant
causing her to injure herself in a lab. The evidence showed that Mr. Wolfe had never
communicated with Dr. Salvatore's assistant concerning the inventory. One month was
permitted for ali departments to conduct the inventory. When asked for evidence to
substantiate his allegation, Dr. Salvatore was non-responsive.

The reason that Dr. Salvatore made this allegation is because Kathi Garcie, his administrative
assistant, injured herself in the lab. While he was driving her to get stitches for her injury, she
informed him that she felt like she had been placed under stress to complete the departmental
inventory in a rush. She mentioned the pressure that Bill Wolfe placed on the administrative
staff. Dr. Salvatore had been informed that Mr. Wolfe had threatened employees who were late
in getting their property inventory sheets turned in. Sometimes he did this by insinuating that
they must be trying to cover up the theft of state property when all the staff was doing was trying
to locate everything and do a thorough job of conducting the property inventory.

Ms. Garcie expressed to Dr. Salvatore that she felt threatened by Bill Wolfe. Many other
classified and unclassified staff at LSUS have also informed him that they felt threatened by
Wolfe.

5. In November 2022, after he was not recommended for a sabbatical by a faculty
committee, Dr. Salvatore sent a series of scathing emails to the Selection Committee Chair
(Dr. Binshan Lin, an eminent scholar) calling him incompetent, demanding that he should
resign, and questioning the integrity of the Selection Committee. Dr. Salvatore's actions
were subsequently discussed in a special meeting of the LSUS Faculty Senate, and
ultimately resulted in his formal censure by the Senate.

Several science faculty members were very upset about the grant and sabbatical application
evaluation process overseen by Dr. Binshan Lin’s Faculty Research and Development Grant
Committee (FRDGC). Some of these individuals asked Dr. Salvatore (as their Faculty Senate
representative) to see that the FRDGC accounted for their performance in reviewing the
proposals.

Dr. Lin was invited to explain and justify his committee’s actions during the October 2022
Faculty Senate meeting. Dr. Salvatore thought that he did a very poor job there, and no one
confronted Dr. Lin about his admission that his committee lacked the qualifications to adequately
evaluate scientific proposals.

Following that meeting, Dr. Salvatore sent an email to Dr. Lin and Faculty Senate President
Allen Garcie how the committee’s decisions could be appealed. He also asked if Chancellor
Clark had contacted any members of the committee during the review process and interfered
with the fair evaluation of the proposal applications. Dr. Lin refused to answer either question. —
Dr. Salvatore asked Faculty Senate President Garcie to respond to the first question, and he
simply ignored the request. It was only after his questions were repeatedly ignored by both
Binshan Lin and Allen Garcie that Dr. Salvatore sent an email to Binshan that referred to the
FRDGC entire process as “corrupt” and “incompetent”. He had every reason to believe in the
accuracy of these opinions. He recommended to Dr. Lin that he resign as chair of that committee.
Dr. Lin ultimately did follow the advice and resigned.

6. In November 2022, at the beginning of a class session, Dr. Salvatore made the followmg
announcement to the students in his class:

"So, this is my twentieth year at LSUS and it is very likely my
last. Of course, my wife will be leaving too. Dr. Gustavson will
be leaving as well. This administration, beginning at the top
with Larry Clark, who himself is m his terminal year, has
damaged the science program significantly. Throwing money
into a cyber collaboratory that barely gets used... millions of
dollars while neglecting this department... and acting like a
tyrant. I know two faculty who were at the poiat of suicide
from the treatment from Larry Clark. So, there's EEOC cases
filed against him and everything.” So, I've pretty much had it,
and as it stands right now, I have more dignity than to teach
for people like this, including our Dean..."

Because of the seriousness of such an allegation, Dr. Salvatore was immediately asked to
meet with both his department Chair and his Dean. During this meeting, he was asked to
name the faculty members he was referring to. He did so reluctantly, but continued by
saying he did not believe these individuals were contemplating suicide. In that meeting, Dr.
Salvatore again accused Chancellor Clark of inappropriate behavior with his wife.

Dr. Salvatore was very frank with his students that day about the situation at LSUS and his
feelings at the time. He had planned to retire until he was informed by HR that it was too early to
do so to retain my health insurance benefits. Dr. Salvatore was very concerned about how
Chancellor Larry Clark had treated certain faculty members, placing them under significant

stress. During his meeting with the Dean and Department Chair, the only reason that he may
have appeared hesitant to divulge the names of the two faculty whom he knew had been driven
close to the brink of committing suicide was that he did not wish to violate their confidentiality,
but what Dr. Salvatore said was the truth. Currently, Dr. Salvatore is concerned about the
emotional state of another faculty member who has also been targeted by the administration.

7. In December 2022, following a negative review of a grievance filed by Dr. Salvatore by a
faculty panel, Dr. Salvatore took it upon himself to contact editors at the internationally
recognized Oxford University Press (OUP), reporting plagiarism allegedly committed by
Dr. Alex Mikaberidze, a highly published and internationally renowned member of the
LSUS History faculty who served on the faculty panel. OUP conducted an investigation of
Dr. Salvatore's claims, only to determine that no plagiarism had taken place. Given that
History is well outside of Dr. Salvatere's own discipline of Chemistry, it is quite apparent
that Dr. Salvatore's efforts were intended solely to tarnish the reputation of a prominent
colleague, in apparent retaliation for Dr. Mikaberidze's service on the grievance committee
that found against Dr. Salvatore. Dr. Salvatore also pursued the same claims of plagiarism
with Red River Radio, which paused Dr. Mikaberidze's Red River Radio show until the
allegations were disproven.

It is Dr. Salvatore’s belief and opinion that Dr. Alex Mikaberidze repeatedly committed
plagiarism in his radio show entitled, “Treasures of the Noel”. This show was broadcast weekly
on Red River Radio and repeated on other occasions throughout the week. Red River Radio is a
National Public Radio (NPR) affiliate, with the second largest broadcast area of any NPR station
in the nation.

Dr. Salvatore listened to the NPR station while he worked in the lab. He discovered Dr.
Mikaberidze’s plagiarism by recognizing blatant factual errors in some of the episodes of his
radio show, and he began investigating the sources of those errors. Dr. Salvatore found that the
errors originated from the sources that Dr. Mikaberidze had plagiarized, word for word.

Dr. Salvatore first reported the plagiarism to the radio station’s Executive Director, to the
University’s Policy and Personnel Committee and to the Chair of the Department of History, Dr.
Mikaberidze’s departmental supervisor. No one did anything to investigate the report. The radio
station’s Executive Director went to speak to Chancellor Clark, who was his supervisor. He did
cancel “Treasures of the Noel”, and he deleted all the series’ episodes from the station’s web-
based archives.

Dr. Salvatore based his beliefs and opinions on Amazon.com book review and the audio
transcript of Dr. Mikaberidze’s radio episode about a book by Mary Pickford, which is owned by
the Noel Collection. Dr. Salvatore also obtained evidence that at least three (3) other episodes in
this radio series were plagiarized and taken from an advertisement for a book that was written by
a rare bookseller in Oregon.

His motivation to alert the publisher had nothing to do with Mikaberidze’s “service” on any
grievance committee. Dr. Salvatore proudly upholds a stricts standard of academic integrity for
his students and he was appalled that there would be a seemingly non-existent standard of
integrity for faculty members. The University did not conduct any credible investigation into
Mikaberidze’s plagiarism.

8. March 23,2023: Dr. Salvatore publicly posted the following on his social media:

9:19 ove:

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< 44-2

Look what LSUS Chancellor Larry Clark and his
administration are doing to the people in Grant
Parish by sending the university's hazardous
waste chemicals to be open burned and open
detonated by Clean Harbers Colfax. The
chemicals are being burned adjacent to an African
American enclave whose residents are
decendents of slaves. The LSUS administration is
now designating Business faculty members as
“sefentists” and failing to heed the warnings from
chemists and biologists to stop doing this.

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On March 22, 2023, Dr. Salvatore then forwarded a screenshot of his post to the LSU
President and others. Dr. Salvatore's claims are unsubstantiated and defamatory. In
fact, it has been confirmed that no LSUS hazardous waste has been disposed of by the
open-burn method. In addition, no LSUS hazardous waste has ever been sent to Clean
Harbors Colfax or any Clean Harbors location in Louisiana. On April 4, 2023, Mr. Blake
Rodgers, LSUS Director of Environmental Health & Safety, informed Dr. Salvatore by
email that he was incorrect concerning his Colfax post. Dr. Salvatore chose to neither
correct nor remove his post. On May 17, 2023, Chancellor Clark sent an email message to
Dr. Salvatore to inform him that he had written a Letter of Reprimand to Dr. Salvatore's

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LSUS personnel file. Chancellor Clark directed Dr. Salvatore to note his instruction to him
within the letter that he correct or remove the Colfax post. As of this date, Dr. Salvatore
has neither corrected nor removed the post. Finally, when Dr. Salvatore met with me on
August 1, 2023, he repeated these same false claims regarding hazardous waste. This
behavior demonstrates his reckless disregard for the truth, as well as his insubordination
and contempt for authority.

From 2014-2017, Dr. Salvatore worked with a group of concerned citizens to prevent what
would have been the largest open burn of hazardous chemicals in the history of the U.S. It would
have created an environmental disaster in this region. This plan amounted to open burning of
nearly 20 million pounds of cold-war era propellants that had been dumped off at Camp Minden
by the U.S. Army. The state contractor at Camp Minden did not do what they were supposed to
do with the chemicals, and they simply allowed them to sit in the field for several years. The
chemicals eventually became unstable and began spontaneously exploding. These were massive
explosions; one was heard 30 miles away. The EPA decided that the hazardous chemicals must
all be burned on-site. The concerned citizens disagreed, and they identified a state-of-the-art
contained burn system that was ultimately adopted and installed on-site.

The chemicals were safely destroyed within one (1) year. However, about 450,000 pounds of
hazardous chemicals (mostly tritonal) was secretly sent to Clean Harbors Colfax to be open
burned right next to an enclave of African American residents in a community called “The
Rock”. The concerned citizens were outraged, as were other people in central Louisiana. There
are safer alternatives for destroying tritonal, but the EPA and the Louisiana National Guard
failed to consider any of those alternatives. In this instance, they prioritized expediency over
public safety.

Dr. Salvatore and other concemed citizens have been lobbying the state and federal
government for Clean Harbors to install a safe contained burn system in Colfax, but they have
not done so. He has attended many meetings, and he even testified with General Russel Honoré
at two separate Louisiana legislative committee hearings to try to get legislation introduced to
put a stop to the open burning in Colfax.

In December 2019, when Dr. Salvatore saw a Clean Harbors truck pull up to the loading
dock at LSUS to remove their hazardous chemicals, he became very concerned. He did not want
to allow the people in Colfax to be harmed again, especially by chemicals being disposed of by
his employer, where he was serving as the Chair of the Department of Chemistry and Physics at
the time. Dr. Salvatore immediately sent an email to the University’s Facilities Director, Art
Shilling, asking him to ensure that none of the chemicals from LSUS would be going to Clean
Harbors Colfax. Mr. Shilling stated that he could not teil Dr. Salvatore that information, and he
asked other people to respond to Dr. Salvatore’s inquiry. At the time Mr. Shilling wrote that, Dr.
Salvatore was already aware that Clean Harbors had over 1,500 air, water, soil, and safety
violations with the Louisiana Department of Environmental Quality at their Colfax facility, and
that their permit has since been denied. This caused Dr. Salvatore significant and legitimate
concern and alarm, as a person who worked hard to protect many populations from the damage
of pollution. Mr. Shilling also carbon copied several other people at LSUS on his message,
including his supervisor (the Vice Chancellor for Business Affairs), the Dean of Arts and
Science, the Chair of the Dept. of Biology, the Provost, and the Chancellor. However, for three
(3) years, none of these individuals ever responded to Dr. Salvatore about this, nor did they ever
express any concerns nor offer any assurances whatsoever about any chemicals being taken to
Colfax.

Fram: "Shilling, Art” <Art.Shifling@lsi >

Subject: Re: Hazardous Waste Inventory process to start Monday 12-9-19

Date: December 7, 2019 at 10:54:06 AM CST

To: "Salvatore, Brian” <Brian, Salvatore @lsus odu>

Ce: “Taylor, Helen” <Helen,taylor@lsus.cdu>, “Banks, Stephen" <Stenhen Banks@lsus .edu>, "Clark, Larry" <Larry Clark@lsus.edu>, "Stratton, Christopher"

<Ghristopher Strattan@lsus.edu>, “Szarvas, Tibor” <Tiber,Szarvas@Isus.cdu>, “Cannon, Barbie" <Barbie Cannon@isus.edu>
fr, Salvatore,

Clean harbers is licensed by the federal environmental protection agency as well as license and parmitted to operate their facility in Loulsiana by the Louisiana Department
of environmental quality, They are a hazardous waste transportation and disposal facility that is currently contracted by the Loulsiana state university system in Saton Rouge.
We are Iisted on the LSU Baton Rouge contract to utllizo this vendor In accordance with the LS contract,

lam afraid that any decision regarding The use or non-use of clean harbors as the transportation and disposal company for LSUS nazardous waste is far above my pay
grade and | wili defer to the executive leader ship contained in this email and await instructions.

Thank you.

Art

Sent {rom my iPhone
On Dac 6, 2019, at 6:42 PM, Salvatore, Brian «Brian Salvatora@ aus edu wrote:
Art

Can Clean Harbors please pravide us with details about how thoy intend te dispese of this hazardous waste? This company operates in a vary unethical manner and
open burns hazardous chamicals near Colfax, Louisiana. Louisiana is tho only state in the nation that allows company to dispose of hazardous materials by open burning
them, and | would not approve of LSUS partiopating or contriuting to such actions.

I know peepie in Coifax who ato suforing from cancer and thyrold disease trom the carciess actions of Clean Harbors, and | would sirongty recommend not allowing
LSUS's name to appear on any of this company’s receiving manifests In Colfax, because the eltizens chore arc currently pursuing punitive legal action against this
campany.

It would not be ethical for LSUS to send any hazardous matorials te be cispesed of in Colfax If Clean Harbors Intends to ship any hazardous materials trom LSUS to
Colfax, my rocommendation would &e to cancel the contract with them immediately and please use another disposal campany tha! operates ethically,

Thank Yeu, -
Srian

Clean Harbors continued to come to our campus to remove hazardous chemicals over the
next three (3) years, and Dr. Salvatore continued to express concerns to people about where the
chemicals were being taken. No one ever responded to his concerns during those three years,
even though Mr. Shillmg requested that higher-up members of the university respond to his
concerns. Finally, in December 2022, Dr. Salvatore approached a “certified expert” from Clean
Harbors who was removing the hazardous chemicals from our science building. He asked him if
any of these chemicals would be taken to Colfax. The expert responded that he didn’t know, and
he could not tell Dr. Salvatore that. When he looked at the inventory of the chemicals being
removed, many of them shared the same codes and chemical functional groups as the compounds
that were taken from Camp Minden to be burned in Colfax in 2015, and Dr. Salvatore believed
that some of LSUS’s chemicals were being taken to Colfax as well.

Finally, after he made a social media post in March of 2023 (over 3 years after his initial
email to our Facilities Director, Chancellor, etc.), someone from the university finally responded
to his concerns. Blake Rogers claimed that none of the chemicals from our campus had been
taken to Colfax. However, it seemingly took a post by Dr. Salvatore on social media to get
anyone from LSUS to pay any attention to his concerns. As soon as he received that response in
his e-mail, Dr. Salvatore removed his post from social media, even though he was never
provided with any evidence to support what Mr. Rogers said. He simply took him at his word,
but Mr. Salvatore’s concerns up until that point were valid.

The other item was just a comment on another post, which was not removed). The social
medial post indicated that LSUS was sending chemicals to Clean Harbors, a company that was

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involved in open burning hazardous chemicals in Colfax. Dr. Salvatore personally observed the
University sending chemicals to Clean Harbors. He believed that this was true, and no issue was
ever raised as to its accuracy. He never posted anything to social media, nor maintained any
information that was confirmed as inaccurate or untrue. He did not make any false statements to
LSUS Chancellor Smith in August 2023. Dr. Salvatore has that entire conversation recorded, and
he can provide that recording upon request.

General Russell Honore, having worked with Dr. Salvatore in this matter, has provided
insight into his experience with Dr. Salvatore. He states that, as a professor with his background,
Dr. Salvatore understands the impacts that this had on the people and the community. Dr.
Salvatore visited Colfax and spoke to the people about the pollution in their area, and he
provided substantial information and helped to get others involved. Dr. Salvatore did a lot of this
in his own time, not getting paid. He was simply a concerned citizen and wanted to help and
inform the people of that community. He gave a statement on the potential impact that an
ammunition burn would have on the land, and his statement was taken at the House of Natural
Resources and Environment Committee. Dr. Salvatore was also active in the Facebook video
conference that led an effort to “Stop the Burn.” He would provide scientific input on how the
chemicals affected people’s health. He also did work in St. Charles Parish to help defend
fisherman’s rights to their land. He also made efforts to help Native American transition into
their new home and made efforts to help them preserve their culture. He gave a voice to the
people of Louisiana and helped them deal with pollution. Having experts like Dr. Salvatore
come into these communities to talk about the impact of chemicals on people’s health meant a lot
to the citizens of this State. General Honore feels that Dr. Salvatore was passionate, and that his
opinions were well founded and factual. He should not be fired over having a reasonable
opinion.

9. In September 2023, in public comments he made at the Shreveport Mayor's
Capital Improvement Committee (chaired by Chancellor Emeritus Larry Clark), Dr.
Salvatore claimed that an LSUS faculty member (unnamed, but clearly referring to
Dr. Alex Mikaberidze) "committed plagiarism in speaking about the Noel Collection
in public radio broadcasts". He also made vague, yet serious charges against
Chancellor Emeritus Clark, stating that he had "caused tremendous psychological
distress to several faculty and staff on the LSUS campus, often saying things knowing
full well that he was either not telling the truth or else he knew far more to the
contrary than he let on at the time". Such incendiary public statements, made with
reckless disregard for the truth, as well as the AAUP statement on academic freedom,
damage the reputation of LSUS, as well as the individuals referred to in his diatribe.

Please see the attached document (Exhibit A), containing Dr. Salvatore’s prepared public
comments before the Shreveport Mayor’s Capital Improvement Committee, which he delivered
on Thursday September 7, 2023. He stated at the beginning of his comment period that I was
speaking as a citizen here and not as an employee or a representative of the University.
Everything that he said in this statement is true. He has already provided evidence about the
plagiarism committed by Alex Mikaberidze on Red River Radio.

Dr. Salvatore has significant personal and professional differences with Larry Clark.
He does not believe that Chancellor Clark has been upfront or honest in his dealings with his
personally, and he believes that a lot of faculty and staff at LSUS feel that Chancellor Clark is
not a transparent individual.

Clark caused tremendous psychological distress to several faculty and staff on the LSUS
campus, often saying things that Dr. Salvatore believes to be untruthful.

He appointed people to positions they had no experience or ability to be in, such as a
Provost who had never even served as a department chair or dean, as well as a Chief Financial
Officer and a Facilities Director who had never worked at a university before. He appointed the
Provost without conducting a search. He also appointed a faculty member to head the Noel Rare
Book Collection who had absolutely no experience with rare books, and that individual
ultimately committed plagiarism in speaking about the Noel Collection in public radio
broadcasts.

Dr. Salvatore believes that Chancellor Clark often contradicted himself, and violated LSU
policies on numerous occasions. He condoned the violation of the state open meetings law, and
he even attended numerous meetings himself that were organized by people under him or
affiliated with him where open meetings law was violated.

He often behaved inappropriately, once calling one of our Deans a bozo to his face in a
mean-spirited attack, claiming that he was conveying the words of someone from the LSU
Medical School, which was never shown to be true.

When he removed that Dean, his second in command, Provost Helen Taylor, inaccurately
stated to all the faculty and staff in our college the reasons for that Dean’s removal.

10. In September 2023, Dr. Salvatore called Staff Senate President Matthew Culpepper to
warn him that he was violating the Louisiana Open Meetings law. Mr. Culpepper had been
acting under the advice of LSU Legal Counsel at the time. Mr. Culpepper then registered a
complaint with the LSUS Human Resources Office, noting that on the call, Dr. Salvatore
became increasingly accusatory and hostile, before he finally hung up on Dr. Salvatore. Mr.
Culpepper mformed HR that "the prospect of Dr. Salvatore threatening him in the future
was making him consider resignation from LSUS". This constitutes bullying of Mr.
Culpepper by Dr. Salvatore.

On the morning of Sept. 7, 2023, Dr. Salvatore called Staff Senate President Mr. Matthew
Culpepper, to inform him about the wording in the Staff Senate Constitution and Bylaws, which
required that the Staff Senate Executive Committee meet to approve the agenda for each Staff
Senate meeting. Mr. Culpepper’s response was that they did not need to meet openly, but rather
they have instead held some “social gatherings.” Dr. Salvatore did not become accusatory nor
hostile towards him. He simply tried to inform him that any exclusive “social gatherings” of the
Staff Senate officers did not qualify as an open meeting of the Executive Committee. Dr.
Salvatore further tried to inform him that if these “social gatherings” did not have any published
agendas or minutes, nor even an announcement so that others could attend, then they were not
being held in accordance with Louisiana’s Open Meetings Law. However, before he could finish
his sentence, Mr. Culpepper said “I don’t need to get into this with you, Dr. Salvatore”, and he
immediately hung up on him.

Dr. Salvatore never threatened Mr. Culpepper, but he did follow up that phone conversation
with an email that afternoon, explaining the basis of Louisiana’s Open Meetings Law to him. In
that email, Dr. Salvatore also informed him that he could file a complaint about this matter with
the state Attorney General’s office, but he had not yet done so.

The Staff Senate now only accepts agenda items anonymously, and there is no transparent
mechanism for how any item makes it onto a Senate meeting agenda. Dr. Salvatore believes that
this requirement for “anonymity” is just a device to avoid holding any open meetings of the
Executive Committee. A lack of anonymity was never a problem for any of the staff members
with whom he have spoken. Rather, the problem is that staff members (particularly classified
staff) have tried to get items on the agendas for the Staff Senate meetings, and those items have
not been placed on the agendas, without any discussion as to why. Dr. Salvatore believes that
this violates the Staff Senate Constitution and Bylaws, and it has occurred repeatedly.

11. On October 2, 2023, Dr. Salvatore copied Faculty Senate President Dr. Cassie Williams
(an untenured assistant professor) on an email sent to Ms. Amanda Lewis, the LSUS
Director of Research and Sponsored Programs, in which he accused Dr. Williams of
violating both pelicy and the law. In the note, he observed in reference to Dr. Williams that
"an assistant professor who is violating both policy and law here is jeopardizing her very
prospects for tenure". Dr. Williams filed a complaint with LSUS Human Resources, noting
that Dr. Salvatore was threatening to negatively influence her tenure process. This
constitutes bullying of Dr. Williams by Dr. Salvatore.

Dr. Salvatore has never bullied Dr. Cassie Williams. He only informed her that she was not
following the Faculty Senate Bylaws, which mandate that the Faculty Senate Executive
Committee must meet to prioritize the agenda items for full Senate meetings. Dr. Salvatore had
been informed about one secret meeting of the Faculty Senate Executive Committee by his
department’s administrative assistant, Kathi Garcie, who is the spouse of our past Faculty Senate
President, Allen Garcie. She told Dr. Salvatore that both Provost Taylor and Chancellor Clark
had come to a Faculty Senate Executive Committee meeting in the Fall of 2021, said derogatory
things about Dr. Salvatore to the committee, and tried to discourage the members of the
committee from allowing the full Senate to discuss the very serious mold problems that we had
been having in the Science Building. Dr. Salvatore understands that this Executive Committee
meeting was held in secret with the administration. Notwithstanding the adjectives and the
exaggeration employed in the pre-termination letter, the fact of the matter is that his words are
pure speech protected by the Frist Amendment.

As Faculty Senate President during the current (2023-2024) academic year, Cassie Williams
has continued to repeat the improper actions of her predecessor. However, it is not accurate to
say that Dr. Salvatore bullied Dr. Williams. Rather, Dr. Salvatore feels that the Faculty Senate
treated him unfairly in December 2022 when they censured him for his complaints about the
incompetent way that internal grants and faculty sabbaticals were awarded last year. During that
“special meeting” they voted by secret ballot to censure him. Secret ballots in open meetings are
illegal under La. R.S. 42.

12. On Sunday, October 29, 2023, Dr. Salvatore submitted an email report to the LSUS
Police, alleging that more than one thousand files were stolen or deleted from his
university-issued laptop computer. He alleged that this was done "by someone who was
provided with the administrative security clearance to enter (his) laptop through the
‘administrator’ account and the network on which (his) computer was connected at the
time." Dr. Salvatore further alleged that this was "not the first time that something like
this" had occurred, further alleging without evidence that then-University Police Chief
Wray had "obstructed the investigation". University Police immediately initiated an
investigation of the current complaint, ultimately requesting Dr. Salvatore to submit his
university-issued laptop computer to police, so that a forensic analysis could be conducted.
Dr. Salvatore declined to submit his computer for analysis, however, precluding police
from completing the investigation. Further, on the morning of October 30, Dr. Salvatore
spoke with an IT staff member who he had run into while the staff member was doing some
technology maintenance in a classroom. He told the staff member about the alleged theft of
files and then accused Interim Vice Chancellor and CIO Shelby Keith and Provost Helen
Taylor of being behind the theft. He then asked the staff member to not tell anyone. The
staff member was sufficiently concerned about this conversation that he reported it to his
supervisor, Interim Vice Chancellor and CIO Shelby Keith.

On the afternoon of Sunday October 29, 2023, while Dr. Salvatore was at home recording
online lessons, over 20,000 computer files that belonged to me were deleted, not only from the
university-owned laptop that I was using but also from my home network-based hard-drive
backup system. This was Dr. Salvatore’s intellectual property. It included everything in his
“LSUS Teaching” folder, which included every lecture he ever gave at LSUS for the past 21
years, along with his research proposals and manuscripts, and even his state and federal tax
returns and medical records (e.g., complete genome sequence). On Oct. 30, Dr. Salvatore
reported this to the LSUS Campus Police, who were of no help. The Chief of the Campus Police
is supervised by LSUS Vice Chancellor for Business Affairs, Mr. Shelby Keith, who also serves
as the Director of IT Services at the University.

In light of his prior experience with Police Chief Wray relative to the prior deletion of his
electronic communications, Dr. Salvatore declined to agree to Wray’s request for a forensic
examination of the laptop and hard drive. Instead, he preferred to have this examination
conducted by an independent forensic expert.

13. On November 1, 2023, three liberal arts department chairs wrote to the Faculty Senate
President, their dean, the Provost and Chancellor to indicate that their faculty senators
were contemplating resignation from the Senate due to the "challenging and toxic
atmosphere that has unfortunately pervaded the Senate", an atmosphere that has single-
handedly been made toxic by Dr. Salvatore. The chairs went on to say that in light of this,
they "will not encourage any of (their) faculty members to serve on the Faculty Senate until
significant improvements are made to the working environment and the overall atmosphere
becomes more conducive to productive and respectful discourse". This extraordinary step
is an indication of the extent to which Dr. Salvatore has poisoned the environment in the
Senate. His callous disregard for even the most basic level of propriety has thus seriously
degraded the ability of the Faculty Senate to function. Given the critical role of shared
governance on a university campus, this ts intolerable.

Dr. Salvatore believes that Chancellor Robert Smith ignored state open meetings law and
allowed the Faculty Senate, Staff Senate, and Provost’s Council to disregard their responsibilities
to adhere to the precepts of this law. Also, when Chancellor Smith was shown the law and asked
about it, his only response was, “This is why we have lawyers”, and then he continued to deny
the relevance of the law to the open governance bodies at LSUS.

TH. DR,SALVATORE’S REQUEST FOR ALL SUPPORTING
DOCUMENTATION

Dr. Salvatore respectfully requests a full and complete copy of all documents which LSUS
contends are supportive of the allegations. Pursuant to Cleveland Bd. of Educ. v. Loudermill, 470
US. 3532, 105 S.Ct. 1487, 84 L.Ed.2d 494 (1985), the tenured public employee is entitled to
examine all evidence that the employer utilizes in making it’s determination.

IV. DR. SALVATORE’S REQUEST FOR A DUE PROCESS PROCEEDING

Dr. Salvatore respectfully requests that a committee be appointed to conduct full due process
hearing.

Please address all correspondence and communications relating to this matter to the
undersigned.

With kindest regards, I am

Sincerely yours,

Sheds

J. Arthur Smith, TT

JASII/ rb
cc: Dr. Brian Salvatore

